Case 1:21-cr-00084-PLF Document 76 Filed 03/29/23 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA
V. Criminal No, 21-0084 (PLF)
DANIEL PAGE ADAMS,
Defendant.
)
ORDER

Upon careful consideration of defendant Daniel Page Adams’ Motion to Modify
Conditions of Release [Dkt. No. 74] and the government’s Opposition to Defendant’s Motion to
Modify Conditions of Release [Dkt. No. 75], the Court hereby DENIES Mr, Adams’ motion
substantially for the reasons set forth in the government’s Opposition at pages 4-5. Accordingly,
it is hereby

ORDERED that Mr. Adams’ Motion to Modify Conditions of Release [Dkt. No.
74] is DENIED.
SO ORDERED.

Gnu ZF

PAUL L. FRIEDMAN
United States District Judge

 

23

 

DATE: 3| -4
